 

Case 1:12-CV-OO758-.]AP-ACT Document 32 Filed 02/28/13 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a NeW Mexieo
limited liability company,

Plaintiff,
vs. Case Number: 1:12-cv~00758-JAP-ACT

TESLA MOTORS, INC., a Delaware
corporation,

Defendant.

NoTlcE To TAKE DEPoSITIoN oF
M

TO: Elon Musl<
c/o Andrew G. Schultz
Rodey, Dickason, Sloan, Al<in & Robb, PA.
P.O. Box 1888
Albuquerque, NeW Mexico 87103~188 8

PLEASE TAKE NOTICE that the attorneys for Plaintiff Rio Real Estate Investment
Opportunities, LLC, Will take the DepoSition of Elon Musl< beginning at 9:00 a.m. on March 20,
2013 at the offices cf Tesla Motors, lnc., 3500 Deer Creek Road, Palo Alto, CA 94304 before a

certified court reporter The Deposition SO taken may be used at trial pursuant to Fed.R.CiV.Pro.

32.

LASTRAPES, SPANGLER & PACHECO, P.A.

By:
Chris'topher M. Pacheco

LeeAnn Werbelow

Attor.neys for Plaintiff

P. O. BoX 15698

Rio Rancho, NeW Mexico 871'74
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Case 1:12-CV-OO758-.]AP-ACT Document 32 Filed 02/28/13 Page 2 of 2

l hereby certify that a true and
correct copy of the foregoing Was
mailed by electronic mail and United
States mail to counsel of record on
this M day of February, 2013.

 

Chris%pher M. Pacheco

